     Case 20-15240-KCF Doc 35-2 Filed 06/27/22 Entered 06/27/22 14:48:08                   Desc
                           Proposed Order Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

 Bunce D. Atkinson, Esquire
 Coast Capital Building
 1011 Highway 71, Suite 200
 Spring Lake, NJ 07762
 (732) 449-0525
 Bunce D. Atkinson, Chapter 7 Trustee


In Re:                                                   Case No.:       ____________________
                                                                               20-15240
 ROBERT P. LORICCO and NICOLE A. LORRICO,                                    8/16/2022
                                                         Hearing Date: ____________________
                                     Debtors.            Judge:          _____________________
                                                                                  KCF

                                                         Chapter:        _____________________
                                                                                   7




                                    ORDER GRANTING ALLOWANCES


         The relief set forth on the following page is hereby ORDERED.
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       The Court having found that the person(s) named below filed application(s) for
allowances; and notice and opportunity for hearing were given to creditors and other parties in
interest as required; and for good cause shown; it is


       ORDERED that compensation and expenses are allowed as follows:


       APPLICANTS                     COMMISSION/FEES                      EXPENSES

   Keller Williams Shore                $ 11,250.00                           N/A
     Properties




                                                                                         rev.8/1/15




                                                 2
